                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


UNITED STATES OF AMERICA                        )
                                                )
v.                                              )          No. 3:02-00053
                                                )          JUDGE CAMPBELL
RANDALL PARKER                                  )


                                            ORDER

       Pending before the Court are the Defendant’s pro se Motion To Resentence (Docket No.

830) and Motion For Reduction Of Sentence (Docket No. 832). The Motions are DENIED,

without prejudice to refiling by counsel for the Defendant. (See Docket No. 829).

       It is so ORDERED.


                                                    TODD J. CAMPBELL
                                                    UNITED STATES DISTRICT JUDGE




 Case 3:02-cr-00053       Document 833        Filed 09/24/14     Page 1 of 1 PageID #: 3647
